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FILED
SISTRICT COURT
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IN THE UNITED STATES DISTRIGHEWERE ANI: 38
FOR THE DISTRICT OF MARYLAND: ¢; ME FICE
VAT BALTIMORE

CIF2.27.20

UNITED STATES OF AMERICA *
BY _—DEPUTY

v. CRIMINAL NO. ELH-19-0286

KEIZYE COLLINS, (Conspiracy to Distribute and Possess

with the Intent to Distribute Controlled
Substances, 21 U.S.C. § 846); Possession
with the Intent to Distribute Controlled
Substances, 21 U.S.C. § 841(a)(),
Aiding and Abetting, 18 U.S.C. § 2;
Forfeiture, 21 U.S.C. § 853, 28 U.S.C.

* § 2461{c)).

RRKEKAE

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Defendant

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SUPERSEDING INFORMATION
COUNT ONE
The United States Attorney for the District of Maryland charges that:
From July of 2018 through June 2019, in the District of Maryland, -
KEIZYE COLLINS,
the defendant herein, did knowingly and willfully combine, conspire, confederate and agree with —
others known and unknown to distribute and possess’ with intent to distribute a mixture or

substance containing a detectable amount of fentanyl, a Schedule II controlled substance.

21 U.S.C. § 846
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COUNT TWO
(Possession with Intent to Distribute Cocaine) —

The United States Attorney for the District of Maryland further charges that:
On or about February 19, 2019, in the District of Maryland, the defendant,
KEIZYE COLLINS,
did knowingly and intentionally possess with intent to distribute a quantity of a mixture or

substance containing a detectable amount of cocaine, a Schedule IJ controlled substance.

21 U.S.C. § 841(a)(1) and 841(b)(1)(C)
18 U.S.C. §2
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FORFEITURE

FORFEITURE ALLEGATION
The United States Attorney for the District of Maryland further finds that:

1. Pursuant to Rule 32.2, Fed, R. Crim. P., notice is hereby given to the defendant that
the United States will seek forfeiture as part of any sentence in accordance with Title 21, United
States Code, Section 853, and Title 28, United States Code, Section 2461(c), in the event of the
defendant’s convictions under Counts One and Two of this Superseding Information.

Narcotics Forfeiture

2, As aresult of the offenses set forth in Counts One and Two incorporated here, the
defendant shall forfeit:

a. any property constituting, or derived from, any proceeds obtained, directly or
indirectly, as the result of such violations; and

b. any property used or intended to be used, in any manner or part, to commit, or
to facilitate the commission of, such violations.

3. The property to be forfeited includes any funds that were furnished or intended to
be furnished in exchange for controlled substances and constitutes proceeds traceable to such
exchanges and was used or intended to be used to facilitate a violation of the Controlled Substances
Act.

21 U.S.C. § 853
28 U.S.C. § 2461(c)

Robert AL. [Ene

Robert K. Hur
United States Attorney

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Date
